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6                              IN THE UNITED STATES DISTRICT COURT
7                EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
8
     ANDREW WEEK                                     Case No.: 2:24-cv-00291-WBS-CKD
9
                                                     ORDER ON PLAINTIFF’S REQUEST FOR
10                             Plaintiff,            EXTENSION OF TIME TO FILE
                                                     DISPOSITIONAL DOCUMENTS RE:
11          v.                                       DEFENDANT EQUIFAX INFORMATION
                                                     SERVICES, LLC
12

13   EXPERIAN INFORMATION
     SOLUTIONS INC., et. al.
14

15

16                             Defendant.
17

18                                              ORDER
19
            Pursuant to the Plaintiff’s Request, filed on June 21, 2024 regarding an extension of the
20
     deadline to file dispositional documents with respect to Defendant Equifax Information Services,
21
     and good cause appearing therefor, IT IS HEREBY ORDERED that Plaintiff shall have to July
22
     8, 2024 to dismiss Defendant Equifax Information Services, LLC.
23
     Dated: June 21, 2024
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                                                 ORDER- 1
